                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       NO.3:14-00071
                                                      )       JUDGE CAMPBELL
JOE FUQUA                                             )

                                              ORDER

         Pending before the Court is a Motion to Set Change of Plea Hearing (Docket No. 76). The

Motion is GRANTED in part and DENIED in part. Because there is not enough time allotted during

the status conference scheduled for July 7, 2014, the Court will hold a change of plea hearing on July

21, 2014, at 2:30 p.m. Any proposed plea agreement shall be submitted to the Court by July 17,

2014.

         The pretrial conference remains scheduled for July 28, 2014, at 11:00 a.m. and the trial

remains scheduled for August 5, 2014, at 9:00 a.m.

         It is so ORDERED.

                                                      ____________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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